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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

_______________________________________
                                         )
TAMARA DEAN, individually and on         )
behalf of all others similarly situated, )
                                         )         Case No 6:22-cv-00806-CEM-EJK
                           Plaintiff,    )
                                         )
v.                                       )
                                         )
PETE AND GERRY’S ORGANICS, LLC,          )
                                         )
                           Defendant.    )
_______________________________________)

              DEFENDANT PETE & GERRY’S ORGANICS, LLC’S
                        MOTION TO DISMISS

      Pursuant to Rule 12 of the Federal Rules of Civil Procedure, Defendant Pete

and Gerry’s Organics, LLC (“Defendant”) moves for dismissal of the complaint

filed against it by Tamara Dean in the above-captioned action because the

complaint fails to state a claim as a matter of law and fails to meet the particularity

requirements of Federal Rule of Civil Procedure 9(b). In support, Defendant states

the following:

                                 INTRODUCTION

      This copycat complaint is a word-for-word replication—typos and all—of

allegations previously made in a putative class action against Defendant Pete and

Gerry’s Organics, LLC (“PGO”) in the Southern District of New York, itself a
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copycat of dismissed claims made by consumers regarding the advertising and

labeling of Nellie’s Free Range Eggs (“Nellie’s”).1 As a result, it contains several

of the same flaws of those complaints, including a lack of specificity that fails to

meet the necessary pleading standard for fraud. Because it is impossible to know

from the face of the Complaint the information necessary to establish fraud claims,

they must be dismissed. Yet even beyond the Complaint’s lack of specificity, the

claims must be dismissed because they seek to describe statements as false or

misleading that are protected under either the doctrine of puffery or a statutory

safe harbor.

                               FACTUAL BACKGROUND

       Plaintiff Tamara Dean is a resident of Brevard County, Florida, who

allegedly purchased Nellie’s eggs “in Titusville, Florida from a Publix

Supermarket.” Compl. ¶ 22. Her complaint does not make clear when or even at

what location she purchased the eggs, as there are multiple Publix supermarkets

in Titusville. Plaintiff claims to have “reviewed Defendant’s advertising claims on

the egg carton and labeling itself” and “relied upon these advertisements in

deciding to purchase the Product.” Id. ¶¶ 23, 37. She provides images of two




1See Compl., Mogull v. Pete & Gerry’s Organics, LLC, Case No. 7:21-cv-03521 (Apr. 21, 2021). In
that case, the plaintiff eventually amended her complaint and the court ruled upon an amended
complaint that alleged different facts and causes of action from those copied here. See Mogull v.
Pete & Gerry’s Organics, LLC, No. 21 CV 3521 (VB), 2022 WL 602971 (S.D.N.Y. Feb. 28, 2022).

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different Nellie’s labels, which include the statement: “Most hens don’t have it as

good as Nellie’s . . . . Nellie’s small family farms are all Certified Human[e] Free-

Range. Our hens can peck, perch, and play on plenty of green grass.” Id. ¶ 2. One

label also includes the statement that the eggs come from “Outdoor Forage, 100%

Vegetarian Feed” hens. Id. ¶ 3. While Plaintiff’s Complaint makes reference to

PGO’s website, print advertisements, and “other forms of advertisements,” she

does not allege that she viewed any of those statements (other than the labels

described above) before making her purchases of Nellie’s eggs. Id. ¶ 44.

      Plaintiff alleges that hens at PGO’s family farms are “crammed into sheds

up to 20,000 at a time, preventing them from extending their wings, foraging or

making their way to the outdoor space as Defendant advertises so prominently.”

Id. ¶ 5. In support of her argument that Nellie’s “Free Range” label is misleading,

Plaintiff cites a 2016 consumer survey from the United Kingdom that purportedly

shows that “the top reason consumers purchase eggs labeled as ‘free range’ is

because ‘Hens are happier.’” Id. ¶ 14.

      Plaintiff claims that PGO’s statements “were intended to and did deceive

Plaintiff and the general public into believing that Defendant’s ‘Free Range’ eggs

were from hens raised in humane living conditions,” and that had she known that

“the Product was not as advertised, she would not have purchased the eggs.” Id.

¶¶ 36, 38. Plaintiff asserts claims against PGO under Florida’s Deceptive and


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Unfair Trade Practices Act (“FDUTPA”) (Fla. Stat. § 501.201) and under Florida’s

misleading advertisement prohibition (Fla. Stat. § 817.41).

                                   ARGUMENT

      Plaintiff’s claims fail at the outset because her Complaint does not identify

any statements on the Nellie’s packaging that are not true. Whether the alleged

wrong committed is framed as a deceptive act or practice under Fla. Stat. § 501.201

(Count I) or misleading advertising under Fla. Stat. § 817.41 (Count II), in order for

Plaintiff to prevail, she must—at a minimum—identify a statement that is false or

deceptive. On the face of the Complaint, however, the challenged statements are

accurate; Plaintiff does not allege any indication that the statements on the Nellie’s

packaging were false. Indeed, Nellie’s labelling comports with federal labelling

requirements in similar industries. But even to the extent that Plaintiff argues

about the interpretation of Nellie’s accurate statements, the challenged statements

can be understood to be nonactionable puffery, because a reasonable consumer

would not understand them to be making objective factual claims about Nellie’s

hens that could be proven true or false.

      In evaluating a motion to dismiss, courts “‘eliminate any allegations in the

complaint that are merely legal conclusions’ . . . [,] assume the veracity of well-

pleaded factual allegations and ‘then determine whether they plausibly give rise

to an entitlement to relief.’” Newbauer v. Carnival Corp., 26 F.4th 931, 934–35 (11th


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Cir. 2022) (citation omitted). The allegations contained in the Complaint fail to

demonstrate an entitlement to relief and accordingly must be dismissed.

          A. The Complaint fails to state a claim

          Plaintiff brings two claims: one for a violation of FDUTPA and a second for

misleading advertising. Because a plaintiff who states a claim under § 817.41 will

also state a per se violation of FDUTPA2 and because the standard of demonstrating

an independent deceptive practice under FDUTPA is higher,3 the success or failure

of the Complaint’s claims centers on the misleading advertising claim. Because

Plaintiff’s claims both suffer from a number of flaws, they must be dismissed.

          1.      The statements selected by Plaintiff are true.

          The most straightforward defense against Plaintiff’s claims of misleading

advertising and deceptive practice is that Nellie’s statements are true. See Piescik

v. CVS Pharmacy, Inc., No. 21-81298-CV, 2021 WL 5996977, at *5 (S.D. Fla. Dec. 15,

2021) (“The presence of true information or a disclaimer can rebut a claim of

deception.”); Kramer v. Unitas, 831 F.2d 994, 999 n.12 (11th Cir. 1987) (“[T]o recover

under [§ 817.41], plaintiffs must establish all the elements of common-law tort

fraud,” which include “a false representation of material fact.” (citation omitted)).




2   See Cross v. Point & Pay, LLC, 274 F. Supp. 3d 1289, 1297 (M.D. Fla. 2017).
3Under FDUTPA, “deception must be ‘probable, not possible,’ and must be likely to cause injury
to a reasonably relying consumer.” Jackson v. Anheuser-Busch InBev SA/NV, LLC, No. 20-CV-23392,
2021 WL 3666312, at *11 (S.D. Fla. Aug. 18, 2021) (citation omitted).

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The challenged paragraph on the labels states that “Most hens don’t have it as

good as Nellie’s.” Compl. ¶ 2. As the paragraph goes on to explain, “9 out of 10

hens in the U.S. are kept in tiny cages” and that even cage-free hens “are crowded

into large, stacked cages . . . [and] never see the sun.” Id. The label contrasts those

hens with Nellie’s hens, which are “Certified Human[e] Free Range” and “can

peck, perch, and play on plenty of green grass.” Id.

      In arguing that these statements are false, Plaintiff admits that “Defendant’s

hens can . . . get outside through small hatches cut at intervals along the sides of

the shed,” and that the hatches are open in pleasant weather from 1 p.m. until

nightfall. Id. ¶ 12. Plaintiff does not claim that Nellie’s hens “are kept in tiny

cages” or “never see the sun” like the hens against which Nellie’s hens are

contrasted. Nor does she dispute the claim that “9 out of 10 hens in the U.S. are

kept in tiny cages.” Therefore, the phrase “[m]ost hens don’t have it as good as

Nellie’s” merely truthfully indicates that Nellie’s hens have it better than ninety

percent of hens, which spend their lives in tiny cages. Nothing in the Complaint

indicates that the conditions at Nellie’s farms are the same as or worse than those

of caged hens.

      Plaintiff instead turns to “how consumers interpret [PGO’s] claim that the

Eggs are ‘free range.’” Id. ¶ 7. In support, she makes reference (without citation)

to a YouTube video produced by PETA showing reactions of select shoppers to a


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video of hens purportedly at one of Nellie’s egg suppliers.4 But Plaintiff does not

dispute that Nellie’s hens are “Certified Humane Free Range.”5 As explained on

the Nellie’s website6 under “What Does Free Range Mean?,” “our partner farms

follow[] the Humane Farm Animal Care (HFAC) Certified Humane Free Range

standards.”7 Those standards require specific amounts and types of outdoor

access to become and remain certified.8 The qualification of the term “free range”

with the term “Certified Humane” and invitation to a definition of the term

provided a more specific meaning to the label. See, e.g., Piescik v. CVS Pharmacy,

Inc., No. 21-81298-CV, 2021 WL 5996977, at *5 (S.D. Fla. Dec. 15, 2021) (holding that

an asterisk on a hand sanitizer’s claim to “kill[] 99.99% of germs” qualified the




4While Plaintiff does not provide a citation to the video, it is clearly the same video discussed by
and cited in the Mogull complaint, as the paragraphs are word-for-word the same. See Compl.
¶¶ 16–17, Mogull, Case No. 7:21-cv-03521 (Apr. 21, 2021).
5“Certified Humane” is a registered trademark of Humane Farm Animal Care, a not-for-profit
organization, with the U.S. Patent and Trademark Office, Serial No. 78645262. The Certified
Humane mark is a certification mark. See 15 U.S.C. § 1054.
6A document incorporated by reference in a complaint may be considered as part of a motion to
dismiss “if the attached document is: (1) central to the plaintiff’s claim; and (2) undisputed.”
Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002). Here, not only does Plaintiff make reference
to PGO’s website for context on what “free range” means, Compl. ¶ 7, but the label makes explicit
reference to PGO’s website for an explanation of how to interpret the term, see id. ¶ 2 (“WE’RE
PROUD TO BE 100% CERTIFIED FREE RANGE. LEARN WHAT THAT MEANS AT
NELLIESFREERANGE.COM.”).
7FAQs, Nellie’s Free Range (2021), https://www.nelliesfreerange.com/about-us/faqs. The page
provides a reference to the Certified Humane Free Range standards.
8  Range Requirements,      Certified   Humane       (2022),   https://certifiedhumane.org/range-
requirements.

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definition to make clear to consumers that it meant “many common harmful germs

and bacteria,” rather than all germs).

          Even without the qualifying “Certified Humane” prefix, Nellie’s eggs are

still “free range” and “outdoor forage.” Under the official guidelines of the

USDA’s Food Safety and Inspection Service (“FSIS”) for labeling poultry—eggs

themselves are unregulated—hens may be labelled as “free range” if “the poultry

has been allowed access to the outside.”9 Plaintiff concedes that Nellie’s hens are

allowed access outside, see Compl. ¶ 12; she simply disagrees with how much

access is required, see id. ¶ 4 (“These representations led Plaintiff . . . to understand

that Defendant’s hens . . . have more access to the outdoors.”). But the fact “[t]hat

Plaintiff and PETA believe that Defendant should use a different method of

measuring . . . does not plausibly suggest that what Defendant in fact says is

materially misleading.” Dwyer v. Allbirds, Inc., No. 21-CV-5238 (CS), 2022 WL

1136799, at *5 (S.D.N.Y. Apr. 18, 2022) (holding that calculation of carbon footprint

under one methodology was not misleading although plaintiff believed another

more accurately reflected carbon footprint). Nellie’s hens are “free range” under

FSIS guidelines, under Certified Humane standards, and by the metric on PGO’s

website to which consumers are directed. The hens are permitted to go outdoors

to forage. That Plaintiff has her own subjective understanding of “free range” or


9   Meat and Poultry Labeling Terms, FSIS-GD-2015-0025 (Aug. 10, 2015).

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“outdoor forage” does not make it reasonable, nor does it make PGO’s statement

false. Cf. Jackson v. Anheuser-Busch InBev SA/NV, LLC, No. 20-CV-23392, 2021 WL

3666312, at *15 (S.D. Fla. Aug. 18, 2021) (holding that label of “craft brewer” was

not deceptive because “what a certain individual might determine to qualify as

‘craft’ beer is necessarily a subjective one, depending on the individual’s tastes and

interests”).      Because PGO’s description of Nellie’s hens as “free range” and

“outdoor forage” is not a false representation, Plaintiff’s claims must fail.

         2.      At best, the statements are nonactionable puffery.

         To the extent that this Court cannot resolve the statements on the basis that

they are not false representations, it should rule that they are nonactionable

puffery because a reasonable consumer would not take these words as making

provable, factual claims about the actual lives of Nellie’s hens.

         Puffery “comprises generalized, vague, nonquantifiable statements of

corporate optimism.” Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307, 1318 (11th Cir.

2019).        The puffery doctrine “presumes a relatively (but realistically) savvy

consumer—the general idea being that some statements are just too boosterish to

justify reasonable reliance.”         Id.    As a result, puffery “cannot constitute a

misrepresentation        of   material      fact.”   Baker    v.   Brunswick   Corp.,   No.

217CV572FTM99MRM, 2018 WL 1947433, at *7 (M.D. Fla. Apr. 25, 2018) (citing

Wasser v. Sassoni, 652 So. 2d 411 (Fla. 3d DCA 1995)). Puffery is “prevalen[t] . . . in


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the egg retail market.” In re Processed Egg Prod. Antitrust Litig., 312 F.R.D. 124, 139

n.11 (E.D. Pa. 2015); see also id. 139–140 nn.11–12 (explaining that “[s]ignificant

‘puffery’ on egg cartons reduces the utility of relying on marketing for a

distinction” and that “many egg marketers add ‘puffery’ to their egg cartons to

attempt to distinguish their eggs from their competitors”).

      The claim that “[m]ost hens don’t have it as good as Nellie’s” is a claim that

Nellie’s hens have it better than other hens. Courts have held that generalized

claims about something being better than something else are subjective claims that

cannot be proven true or false, and therefore constitute puffery. See, e.g., Univ. of

Fla. Rsch. Found., Inc. v. Orthovita, Inc., No. 1:96-CV-82-MMP, 1998 WL 34007129,

at *27 (N.D. Fla. Apr. 20, 1998) (“[U]nless a claim that a product is ‘better’ than a

competitor’s is ‘backed-up’ with false allegations that ‘tests prove’ superiority . . . ,

the superiority claim constitutes no more than unactionable puffery.”); Dwyer,

2022 WL 1136799, at *8 (phrases that animals had “better lives,” were “raised

right,” or lived “the Good Life” were puffery).

      Moreover, the statement that Nellie’s “hens can peck, perch, and play on

plenty of green grass” is also, at a minimum, mere puffery. Plaintiff’s Complaint

says nothing about what Nellie’s hens can do when they are outside or the amount

of green grass upon which they play. As a result, “[t]here are no allegations

anywhere that the quoted language of the advertisements is false. Read as a


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whole, they amount at most to puffery, not fraud.” Am. Dental Ass’n v. Cigna Corp.,

605 F.3d 1283, 1292 (11th Cir. 2010). Furthermore, phrases that use terms like

“plenty” are understood as generic, immeasurable references that are not able to

be relied upon by consumers. See Magruder v. Halliburton Co., 359 F. Supp. 3d 452,

461 (N.D. Tex. 2018) (holding defendant’s statement that it “has ‘plenty

of’ . . . liquidity” was inactionable puffery).

      A similar claim about food-producing animals was found to be

nonactionable puffery in Myers-Taylor v. Ornau Foods North America, Inc., 18-CIV-

1538, 2019 WL 424703 (S.D. Cal. Feb. 4, 2019). The defendant in Myers-Taylor

marketed butter as having been made with “Milk From Grass-Fed Cows.” Id. at

*1. In granting the defendant’s motion to dismiss, the court first held that the

statement “Milk From Grass-Fed Cows” would not have led a reasonable

consumer to believe that the cows in question were 100% grass-fed. See id. at *4.

Likewise, the statements here would not have led a reasonable consumer to believe

that all of Nellie’s hens peck, perch, and play on plenty of green grass or forage

outdoors at all times.

      If the Court is not prepared to rule that Defendant’s statement that Nellie’s

hens were “free range” is plainly true (as described supra), it should rule that the

statement is puffery, as it is too vague to constitute an actionable

misrepresentation. As discussed above, the USDA’s FSIS considers hens to be


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“free range” so long as they are permitted access outdoors; Certified Humane Free

Range requires access for hours and certain conditions for the farm. See supra

Section A.1. The term clearly has a broad range of reasonable interpretations that

make it unlikely to induce consumer reliance and thus puffery. See Pye v. Fifth

Generation, Inc., No. 4:14CV493-RH/CAS, 2015 WL 5634600, at *2 (N.D. Fla. Sept.

23, 2015) (holding “handmade” was subject to multiple meanings and was “the

kind of puffery that cannot support claims of this kind”); see also TocMail Inc. v.

Microsoft Corp., No. 20-60416-CIV, 2020 WL 9210739, at *4 (S.D. Fla. Nov. 6, 2020)

(“[A] statement that is quantifiable, that makes a claim as to the specific or absolute

characteristics of a product, may be an actionable statement of fact while a general,

subjective claim about a product is non-actionable puffery.”).

      Because these statements cannot be deceptive by virtue of their nature, they

cannot serve as the source for Plaintiff’s misleading advertising claim. As a result,

the claim must be dismissed.

      3.     Plaintiff has not adequately pleaded the essential element of knowledge of
             falsity.

      Plaintiff’s Complaint also lacks an additional essential element of a

misleading advertising claim: knowledge of the falsity of the statement. See, e.g.,

Gayou v. Celebrity Cruises, Inc., No. 11-23359-CIV, 2012 WL 2049431, at *7 (S.D. Fla.

June 5, 2012) (“An essential element of a misleading advertising claim is that the

representor knew or should have known of the falsity of the statements at issue.”). As

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the Complaint notes, the conditions of which Plaintiff complains are at a

“NELLIE’S EGG SUPPLIER,” not on PGO’s premises. Compl. ¶ 10. Plaintiff “fails

to allege any facts supporting that [PGO] knew or should have known that the

statements in its marketing materials . . . were false. Nor does [s]he allege any

facts supporting that [PGO] knew of any [disputed] condition.” Gayou v. Celebrity

Cruises, Inc., No. 11-23359-CIV, 2012 WL 2049431, at *7 (S.D. Fla. June 5, 2012)

(dismissing misleading advertising claim). Failure to plead any facts regarding

knowledge of falsity is fatal to a misleading advertising claim. See, e.g., Era

Organics, Inc. v. Erbaviva, LLC, No. 8:18-CV-2219-T-30SPF, 2019 WL 13063471, at *1

(M.D. Fla. Mar. 8, 2019) (dismissing § 817.41 counterclaim because “Defendant has

not alleged that Plaintiff knew or should have known its statements were false”).

      Simply put, Plaintiff has an obligation to allege that PGO knew or should

have known about the operations taking place at farms and that any hens lacked

access to the outdoors. Because she has not, her misleading advertising claim must

be dismissed.

      B. PGO’s “free range” statements are protected by FDUTPA’s safe harbor

      As discussed above, PGO’s statements cannot satisfy the heightened

standard for a deceptive practice under FDUTPA because the statements were not

deceptive and were not likely to mislead a consumer. But PGO’s statements on

“free range” are exempt from FDUTPA. By its own terms, FDUTPA does not


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apply to any “act or practice . . . specifically permitted by federal or state law.” Fla.

Stat. § 501.212(1). Courts have interpreted this provision as creating a safe harbor

for statements that are permitted by federal regulations. See, e.g., Kuenzig v. Hormel

Foods Corp., 505 F. App’x 937, 939 (11th Cir. 2013) (holding that “labels compl[ying]

with federal regulations” and previously “approved by FSIS” were within

FDUTPA safe harbor). “Whether the safe harbor applies may be decided as a

matter of law.” Casey v. Fla. Coastal Sch. of L., Inc., No. 3:14-CV-1229-J-39PDB, 2015

WL 10096084, at *7 (M.D. Fla. Aug. 11, 2015), report and recommendation adopted, No.

3:14-CV-01229, 2015 WL 10818746 (M.D. Fla. Sept. 29, 2015).

          Here, FSIS has approved the use of the term “free range” to designate hens

that “ha[ve] been allowed access to the outside.”10 Where a federal regulator “has

approved the use of the terms,” they are “specifically permitted by federal law

within the meaning of Florida Statutes § 501.212“ and cannot be the source of a

FDUTPA claim. Pye v. Fifth Generation, Inc., No. 4:14CV493-RH/CAS, 2015 WL

5634600, at *4 (N.D. Fla. Sept. 23, 2015); see also Phelps v. Hormel Foods Corp., 244 F.

Supp. 3d 1312, 1319 (S.D. Fla. 2017) (where “challenged labels were approved by

FSIS,” it barred “FDUTPA claims based on the labels themselves and

advertisements featuring the approved labels”).




10   Meat and Poultry Labeling Terms, FSIS-GD-2015-0025 (Aug. 10, 2015).

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      While FSIS regulates the labelling of poultry and not eggs with the term “free

range,” the distinction makes no difference, because the term describes the

treatment of the hen, not the quality of the egg. It cannot be permissible in one

instance but misleading in the other to describe the same scenario. See Savalli v.

Gerber Prod. Co., No. 15-61554-CIV, 2016 WL 5390223, at *4 (S.D. Fla. Sept. 20, 2016)

(“Plaintiff contends that labeling expressly permitted by the FDCA and FDA

regulation may nonetheless be misleading. The argument is self-defeating.”).

Federal regulators have approved the term “free range” to describe hens that are

allowed access to the outdoors. Plaintiff cannot challenge the statement where she

admits that Nellie’s hens comply with that label. See Compl. ¶ 12 (explaining that

hatches are opened to hens in pleasant weather). As a result, Plaintiff’s FDUTPA

claim is barred with respect to the term “free range” and must be dismissed.

      C. The Complaint fails to plead either claim with sufficient particularity

      Finally, both claims are subject to dismissal because they fail to satisfy the

requirements of Fed. R. Civ. P. 9(b). Under Rule 9(b), “[i]n alleging fraud . . . , a

party must state with particularity the circumstances constituting fraud.” A claim

for misleading advertising is subject to Rule 9(b) heightened pleading standards.

See, e.g., Begualg Inv. Mgmt. Inc. v. Four Seasons Hotel Ltd., No. 10-22153-CIV, 2011

WL 4434891, at *4 (S.D. Fla. Sept. 23, 2011). Whether a FDUTPA claim is generally

subject to Rule 9(b) is an open question in the Eleventh Circuit. Compare Stires v.


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Carnival Corp., 243 F. Supp. 2d 1313, 1322 (M.D. Fla. 2002), with Nationwide Mut. Co.

v. Ft. Myers Total Rehab Ctr., Inc., 657 F. Supp. 2d 1279, 1290 (M.D. Fla. 2009) (“The

Court is not convinced that the specificity requirements of FED. R. CIV. P. 9(b)

applies to FDUTPA, although it recognizes this view is in the minority in this

District.”). This Court has indicated that courts have applied the requirements of

Rule 9(b) where the FDUTPA claims “sound in fraud.” Allstate Ins. Co. v. Auto

Glass Am., LLC, 418 F. Supp. 3d 1009, 1021 n.12 (M.D. Fla. 2019).

      Where, as here, the underlying claim involves misleading advertising, it is

clear that the claim sounds in fraud. See Rollins, Inc. v. Butland, 951 So. 2d 860, 877

(Fla. Dist. Ct. App. 2006) (“Misleading advertising is a particularized form of

fraud.”). Courts in the Circuit have accordingly applied Rule 9(b) to both claims

where a misleading advertising claim is paired with a FDUTPA claim. See, e.g.,

Jackson v. Anheuser-Busch InBev SA/NV, LLC, No. 20-CV-23392, 2021 WL 3666312,

at *8 (S.D. Fla. Aug. 18, 2021); USA Nutraceuticals Grp., Inc. v. BPI Sports, LLC, No.

15-CIV-80352, 2016 WL 4254257, at *3 (S.D. Fla. Feb. 16, 2016).

      Under Rule 9(b), Plaintiff was required to plead the “who, what, when

where, and how” of her claims. Garfield v. NDC Health Corp., 466 F.3d 1255, 1262

(11th Cir. 2006). Plaintiff has failed to allege several of these elements. First, with

regard to “when,” Plaintiff was required to plead “the time . . . of each such

statement.” Crawford’s Auto Ctr., Inc. v. State Farm Mut. Auto. Ins. Co., 945 F.3d


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1150, 1159 (11th Cir. 2019) (citation omitted). Yet there is no indication in the

Complaint of what day or even year Plaintiff purchased the eggs. That failure

alone is enough to warrant dismissal of her claims. See, e.g., Jackson v. Anheuser-

Busch InBev SA/NV, LLC, No. 20-CV-23392, 2021 WL 3666312, at *13 (S.D. Fla. Aug.

18, 2021) (holding that a “fail[ure] to allege with specificity the time at which”

alleged misrepresentations occurred permitted “dismiss[al] on this basis alone”).

      Additionally, other than the phrase “free range,” the Complaint does not

make clear exactly which statements Plaintiff believes are misleading and

fraudulent.   Instead, the Complaint quotes large sections of the labels and

describes them as “deceptive.” But plaintiffs may not simply quote the label and

leave defendants to guess what language might be under scrutiny; more is

required. See Merch. One, Inc. v. TLO, Inc., No. 19-CV-23719, 2020 WL 248608, at *6

(S.D. Fla. Jan. 16, 2020) (“[W]hile Plaintiff provides some examples of what it

contends constitute fraudulent statements made by Defendants, the Complaint

fails to satisfy the requirements of Rule 9(b) because Plaintiff must set forth

precisely each statement alleged to be fraudulent.”).

      Plaintiff does not make clear what statements were deceptive, at what store

she purchased the eggs, or even in what year she read the labels and bought the

eggs. “The particularity rule serves an important purpose in fraud actions by

alerting defendants to the ‘precise misconduct with which they are charged’ and


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protecting defendants ‘against spurious charges of immoral and fraudulent

behavior.’” United States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1359 (11th Cir.

2006) (citation omitted). Rule 9(b) shields PGO from having to guess at the

circumstances surrounding the alleged deception, and requires dismissal for

failure to plead sufficient particularity.

                                   CONCLUSION

      As set forth in detail above, all of Plaintiff’s claims—under any of the legal

theories she posits—are implausible because they rely upon statements that are

either demonstrably true or non-actionable puffery. Furthermore, because of the

heightened pleading requirements for claims sounding in fraud, the Complaint

must be dismissed for its failure to provide specificity regarding the circumstances

of the allegedly fraudulent statements. As a result, the Complaint should be

dismissed in its entirety.




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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(G)

       I certify that, pursuant to Local Rule 3.01(g), counsel for Defendant
conferred telephonically with William Wright, opposing counsel representing
Plaintiff. Plaintiff’s counsel does not agree on the resolution of the motion and
intends to contest it.

Dated: June 27, 2022       Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that on June 27, 2022, I filed the foregoing with the Court’s

electronic filing system, which will cause a copy to be served upon all counsel of record.

                                  /s/ Gregory P. Hansel
                                  Gregory P. Hansel (Florida Bar # 607101)


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